Case 6:16-cv-01471-GAP-GJK Document 17 Filed 11/21/16 Page 1 of 1 PageID 81




                              UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

   JOEL PRICE,

                           Plaintiff,

   v.                                                      Case No: 6:16-cv-1471-Orl-31GJK

   PBBS OF NEW SMYRNA BEACH,
   INC.,

                           Defendant.


                          ORDER OF DISMISSAL WITHOUT PREJUDICE
           Upon consideration of the Notice of Settlement (Doc. 16), it is

           ORDERED that this case is DISMISSED without prejudice pursuant to Local Rule

   3.08(b), subject to the right of any party to move the Court within sixty (60) days for the

   purpose of entering a stipulated form of final order or judgment; or, on good cause shown, to

   reopen the case for further proceedings. Any pending motions are DENIED as moot. The

   Clerk is directed to close this file.

           DONE and ORDERED in Chambers in Orlando, Florida on November 21, 2016.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties
